Western District of Virginia - LIVE - Docket Report

Page 1 01"9

APPEAL

U.S. Bankruptcy Court

Western District of Virginia (Lynchburg)
Adversary Proceeding #: 06-06081

Assz`gned to: Judge William E Anderson

Related BK Case.' 05 -61589

Internal Use Only

Date Filed: 08/28/06

Related BK Tz`tle.' Boss Management Group, Inc. a Virginia

Corporation
Related BK Chapter.' 7
Demand.'

Nature[s] ofSuit: 435 Validity/Priority/Extent Lien
498 Other Action

Plaintiff

Wifliam F Schneider, Trustee, Plaintijf

BELL & SCHNEIDER
PO BOX 739
LYNCHBURG, VA 24505
434-528-0411

V.
Defendant

Fabriko Acquisition Corporation,
Defendant

Mid-West Textiles, Inc.

3rd Party Plaintiff

represented by William F. Schneider, Esq
P. O. Box 739
Lynchburg, VA 24505-0739
(434) 528-0411
Ernail: schneider@abellaw.com
LEAD A TTORNEY

represented by Gary M Bowman
306 MARKET STREET
ROANOKE, VA 24011
540 343-7949
Email: garymbowman3@c0x.net

Gary M Bowman

306 Market Street

Roanoke, VA 2401 l

(540) 343-7949

Fax : (540) 344-6144

Email: garymbowmanf‘)@cox.net
LEAD A ITORNEY

represented by Gary M Bowman
(See above for address)
LEAD A TTORNEY

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Fabriko Acquisition Corporation, represented by Gary M Bowman

Defendant (See above for address)
LEAD A TTORNEY

V.

3rd Pty Defendant

Advisco Capital Corporation

Philip A Newman

represented by R Mitchell Garbee
Wilson Garbee & Rosenberger
PO Box 778
Lynchburg, VA 245 05
434 847-9066
Email: mgarbee@wgrlaw.net

represented by R Mitchell Garbee
(See above for address)

 

Filing Date

Docket Text

 

08/28/2006

01

Adversary case 06-06081. Complaint by William F Schneider,
Trustee against Fabriko Acquisition Corporation, Mid-West Textiles,
Inc.. Receipt Number defer, Fee Arnount $250. (435
(Validity/Priority/Extent Lien),498 (Other Action)) (Schneider,
Williarn) (Entered: 08/28/2006)

 

08/28/2006

Cover Sheet Filed William F Schneider, Trustee (Schneider, William)
(Entered: 08/28/2006)

 

08/28/2006

Application to Det`er Fee Other Than Case Fi|ing Fee (related
documents .l Complaint, )/Defer Payment of Adversary Filz`ng Fee
Filed by Plaintiff William F Schneider, Trustee (Schneider, William)
(Entered: 08/28/2006)

 

08/29/2006

94

Order Granting Application to Defer Payment Other Than Case Filing
Fee; Trustee to certify;(Related Doc # 3) Signed on 8/29/2006.
(Campbell, Pam) (Entered: 08/29/2006)

 

08/29/2006

Attorney William F. Schneider for Wilfiam F Schneider, Trustee,
Gary M Bowman for Fabriko Acquisition Corporation and Mid-West
Textiles, Inc. added to case (Campbell, Pam) (Entered: 08/30/2006)

 

08/29/2006

Surnmons Issued to Attorney for Plaintiff; Pre-Trial Conference set
for 10/5/2006 at 09:30 AM at Lynchburg, US Bankruptoy Courtroom
210, U.S. Courthouse, 1101 Court St., Lynchburg, VA 24504.
(Campbell, Pam) (Entered: 08/30/2006)

 

 

 

 

 

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Western District of Virginia - LIVE ~ Docket Report

09/20/2006

06

Page 3 of9

Certiflcate of Service Filed by William F. Schneider Esq on behalf of
William F Schneider, Trustee (RE: related document(s)5 Summons
Issued to Attorney for Plaintiff, 1 Complaint, ). (Schneider, William)
(Entered: 09/20/2006)

 

09/26/2006

971

Answer to Complaint on behalf of Fabrz`ko Acquz'sftion Corporation
and Mfd- West Textiles, Inc. Filed by Fabriko Acquisition
Corporation. (Bowman, Gary) (Entered: 09/'26/2006)

 

09/26/2006

Objection to Pre-Tr:`al Conference Scheduledfor Ocrober 5, 2006
fried by Fabrl`ko Acquz`sitfon Corporatoin and Mz'd- West Textiles, Inc.
Filed by Gary M Bowman on behalf of Fabriko Acquisition
Corporation. (Bowman, Gary) (Entered: 09/26/2006)

 

09/26/2006

Third-Party Cornplaint by Fabriko Acquisition Corporation against
Advisco Capital Corporation, Philip A Newman . (Bowman, Gary)
(Entered: 09/26/2006)

 

09/28/2006

Attorney Gary M Bowman for Fabriko Aequisition Corporation
added to case (Campbell, Pam) (Entered: 09/28/2006)

 

09/28/2006

Third Party Summons Issued to Attorney for Third Party Plaintiff;
Counsel for Third Party Plaintiff to certify; (Original summons
mailed by regular mail to counsel for Third Party Plaintift)
(Campbell, Pam) Modif`led on 9/28/2006 (Campbell, Pam). (Entered:
09/28/2006)

 

10/05/2006

Pre-Trial Hearing Held - Hearing Continued (RE: related document(s)
_1 Complaint, filed by Plaintiff William F Schneider, Trustee) Hearing
scheduled l 1/9/2006 at 09:30 AM at Lynehburg, US Bankruptey
Courtroom 210, U.S. Courthouse, 1101 Court St., Lynchburg, VA
24504. (Campbell, Pam) (Entered: 10/05/2006)

 

10/26/2006

Answer to Third Party Complaint Filed by Adviseo Capital
Corporation, Philip A Newman. (Garbee, R) (Entered: 10/26/2006)

 

10/31/2006

Certiflcate of Service For Third Party Summons Filed by Gary M
Bowman on behalf of Fabriko Aequisition Corporation. (Bowman,
Gary) (Entered: 10/31/2006)

 

l 1103/2006

014

Interrogatories Thz`rd Parly Defendant Advisco Capz'tal Corporation'$
First Set of Interrogatories to Fabriko Acquisition Cor;a:;»c)ratz`r)1a1
Def?na'ant and Thz`rd-Party Plafnty_‘”fFiIed by R Mitchell Garbee on
behalf of Advisco Capital Corporation (RE: related document(s)9
Third-Party Cornplaint), (Garbee, R) (Entered: 11/03/2006)

 

1 1/03/2006

 

 

 

Interrogatories -Requestfor Production Filed by R Mitchell Garbee

 

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Third-Party Complaint). (Garbee, R) (Entered: 11/03/2006)

 

11/09/2006

016

Pre-Trial Conference Held (RE: related document(s)l Complaint,
filed by Plaintiff William F Schneider, Trustee) Pre-Trial hearing
continued to 12/14/06 at 9:30am in the U. S. Bankruptcy Court, 1101
Court Street, Lynchburg, VA; (Parties may conduct pre-trial by
conference call on 11/16/06 at 10:30 am to be initiated by Mr.
Bowman) (Campbell, Pam) (Entered: 11/13/2006)

 

l 1/16/2006

1317

Pre~Trial Conference Held by telephone on 11/16/06 (Court notes
returned to clerk's office on 12/8/06; Trial to be held on 6/7/07 at
10:30 am; Discovery cutoff Will be 2/28/07; Pre-trial motions by
4/1/07; Pre-trial motions to be heard on 4/19/07 at 10:00 am; (RE:
related document(s)l Complaint, filed by Plaintiff William F
Schneider, Trustee) (Campbell, Pam) (Entered: 12/08/2006)

 

11/16/2006

018

Pre-Trial Conference Held by Telephone (hearing re-docketed due to
courtroom deputy making additions to court notes) (RE: related
document(s)_l__ Complaint, filed by Plaintiff William F Schneider,
Trustee) (Campbell, Pam) (Entered: 12/08/2006)

 

12/1 1/2006

0|9_

Scheduling Order (Trial and/or Pre-Trial) Signed on 12/1 1/2006.
Discovery due by 2/28/2007; Pre-trial motions to be filed by 4/1/07;
Hearing date for pre-trial motions Will be 4/19/07 at 10:00 am; Trial
date set for 6/7/2007 at 10:30 AM at Lynchburg, US Bankruptcy
Courtroom 210, U.S. Courthouse, 1101 Court St., Lynchburg, VA
24504; (Campbell, Pam) Modified on 12/11/2006 (Campbell, Pam).
(Entered: 12/11/2006)

 

01/19/2007

020

Letter Filed by Gary M Bowman on behalf of Fabriko Acquisition
Corporation. (Bowman, Gary) (Entered: 01/19/2007)

 

02/15/2007

021

Letter Filed by Gary M Bowman on behalf of Fabriko Aequisition
Corporation. (Bowman, Gary) (Entered: 02/15/2007)

 

02/26/2007

022

Motion to Dismiss Adversary Proceeding -Thfrd-Parly Defendanfs'
Mon`on to Dismiss RICO Claim for Failure to State a Claim Filed by
Advisco Capital Corporation, Philip A Newman Hearing scheduled
3/8/2007 at 10:00 AM at Lynchburg, US Bankruptcy Courtroom 210,
U.S. Courthouse, l 101 Court St., Lynchburg, VA 24504. (Garbee, R)
(Entered: 02/26/2007)

 

03/01/2007

023

Amended Complaint Motz`on to Amend Third Party Complaz'nt by
Gary M Bowman on behalf of Fabriko Acquisition Corporation
against Advisco Capita] Corporation. (Bowman, Gary) (Entered:
03/01/2007)

 

 

 

 

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327063841 42 0 1 6/7/2007

 

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03/01/2007

924

Amended Complaint by Gary M Bowman on behalf of Fabriko
Acquisition Corporation against Advisco Capital Corporation.
(Bowman, Gary) (Entered: 03/01/2007)

 

03/01/2007

Amended Complaint Non'ce of Hearing by Gary M Bowman on
behalf of Fabriko Acquisition Corporation against Advisco Capital
Corporation. (Bowman, Gary) (Entered: 03/01/2007)

 

03/01/2007

026

Response OF FABRIKOACQUISITION CORPORA TION T 0
THIRD-PARTYDEFENDANTS' MOTION TO DISMISS COUNT
TWO (RICO CLAIM) Filed by Gary M Bowrnan on behalf of Fabriko
Acquisition Corporation. Hearing scheduled 3/8/2007 at 10:00 AM at
cr mtg, Lynchburg, US Courthouse, Rm 266, 1101 Court St.,
Lynchburg, VA 24504. (Bowman, Gary) (Entered: 03/01/2007)

 

03/04/2007

Motion to Compel Philip Newman andAdvz'sco Capz`tal Corporation
to Respond to Dz'scovery, Motz`on to Schedule Depositions, and
Motl`on to Exrend Discovery Cut~oijiled by 3rd Party Plaintiff
Fabriko Acquisition Corporation Hearing scheduled 3/8/2007 at
10:00 AM at Lynchburg, US Bankruptcy Courtroom 210, U.S.
Courthouse, 1 101 Court St., Lynchburg, VA 24504. (Bowman, Gary)
(Entered: 03/04/2007)

 

03/06/2007

028

Memorandum in Opposz`tion to Motion to Amend Third-Party
Complaz'nt Filed by R Mitchell Garbee on behalf of Advisco Capital
Corporation, Philip A Newman (RE: related document(s)§ Amended
Complaint). (Garbee, R) (Entered: 03/06/2007)

 

03/07/2007

029

Memorandum in Opposition 10 Motion to Compel Filed by R Mitchell
Garbee on behalf of Advisco Capital Corporation, Philip A Newman
(RE: related document(s)ZZ Motion to Compel Philip Newman and
Advisco Capital Corporation to Respond to Discovery, Motion to
Schedule Deposit£ons, and Motion to Extend Discovery Cut-ojj).
(Garbee, R) (Entered: 03/07/2007)

 

03/07/2007

030

Response (Fabriko Acquisition Corporation's Reply to Advfsco
Cdpz`tal Corporation'$ and Philip A. Newman's Memomndum in
Oppositz`on to Motz'on to Amend Third-Party Complafnt) Filed by
Gary M Bowman on behalf of Fabriko Acquisition Corporation.
(Bowman, Gary) (Entered: 03/07/2007)

 

03/08/'2007

031

Hearing Held - Hearing Continued (RE,: related document(s)27
Motion to Compel, filed by 3rd Party Plaintiff Fabriko Acquisition
Corporation, Defendant Fabriko Acquisition Corporation) Hearing
scheduled 6/28/2007 at 01 :30 PM at Lynchburg, US Bankruptcy
Courtroom 210, U.S. Courthouse, 1101 Court St., Lynchburg, VA
24504. (Campbell, Pam) (Entered: 03/08/2007)

 

 

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Western District of Virginia - LlVE - Docket Report

03/0 8/2007

932

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Hearing Held - Hearing Continued (RE: related document(s)22
Motion to Dismiss Adversary Proceeding, filed by 3rd Pty Defendant
Philip A Newman, 3rd Pty Defendant Advisco Capital Corporation)
Hearing scheduled 6/2 8/2007 at 01 :30 PM at Lynchburg, US
Bankruptcy Courtroom 210, U.S. Courthouse, 1101 Court St.,
Lynchburg, VA 24504. (Campbell, Pam) (Entered: 03/08/2007)

 

03/08/2007

033

Hearing Held - Hearing Continued (RE: related document(s)23
Amended Complaint filed by 3rd Party Plaintiff Fabriko Acquisition
Corporation, Defendant Fabriko Acquisition Corporation) Hearing
scheduled 6/2 8/2007 at 01:30 PM at Lynchburg, US Bankruptcy
Courtroom 210, U.S. Courthouse, 1 101 Court St., Lynchburg, VA
24504. (Carnpbell, Pam) (Entered: 03/08/2007)

 

03/08/2007

1334

Hearing Held (RE: related document(S)Z.éi Amended Complaint filed
by 3rd Party Plaintiff Fabriko Acquisition Corporation, Defendant
Fabriko Acquisition Corporation) ~ Request forjury trial; Denied,
Court to do order on denial of jury trial; (Campbell, Pam) (Entered:
03/08/2007)

 

03/15/2007

035

Letter Filed by R Mitchell Garbee on behalf of Advisco Capital
Corporation, Philip A Newman. (Garbee, R) (Entered: 03/15/2007)

 

04/04/2007

036

Motion for Jury Trial Filed by Defendant Fabriko Acquisition
Corporation (Bowman, Gary) (Entered: 04/04/2007)

 

04/ 1 8/2007

937

Motion To Stril<e (related documents 36 Motion for Jury Trial) - Filed
by Advisco Capital Corporation, Philip A Newman (Garbee, R)
Modified on 4/18/2007 (Farmer, Deborah). (Entered: 04/18/2007)

 

04/27/2007

Motion for Withdrawal of Reference Filed by Defendant Fabriko
Acquisition Corporation (Bowrnan, Gary) (Entered: 04/27/2007)

 

04/30/2007

039

Order of Deficiency Adversary Proceeding ~ Fee for filing Motion for
withdrawal of Reference in the amount of $150.00 not paid; Signed
on 4/30/2007. Filing Fee Not Paid Due By 5/10/2007. (Campbell,
Pam) (Entered: 04/30/2007)

 

05/03/2007

040

Order and Memorandum Decision dismissing (RE: related document
(s)23_ Amended Complaint; 26Response,filed by 3rd Party Plaintiff
Fabriko Acquisition Corporation, Defendant; 9 Third-Party
Complaint;97 Motion to Compel, filed by 3rd Party Plaintiff36
Motion for Jury Trial filed by 3rd Party Plaintiff. Signed on 05/03/07
(Farmer, Deborah) (Entered: 05/03/2007)

 

05/03/2007

 

 

041

 

Order Dismissing Signed on 5/3/2007 (RE: related document(s)23
Motion to Amend Complaint filed by 3rd Party Plaintiff Fabriko

 

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Acquisition Corporation, Defendant Fabril<o Acquisition
Corporation). (Farmer, Deborah) (Entered: 05/03/2007)

 

05/03/2007 042 Order dismissing Signed on 513/2007 (RE: related document(s)27
Motion to Compel, filed by 3rd Party Plaintiff Fabriko Acquisition
Corporation, Defendant Fabriko Acquisition Corporation). (Farmer,
Deborah) (Entered: 05/03/2007)

 

05/03/2007 043 Order dismissing Signed on 5/3/2007 (RE: related document(s)_9_
Third-Party Complaint filed by 3rd Party Plaintiff Fabriko
Acquisition Corporation, Defendant Fabriko Acquisition
Corporation). (Farmer, Deborah) (Entered: 05/03/2007)

 

05/03/2007 944 Order dismissing Signed on 5/3/2007 (RE: related document(s)36
Motion for Jury Trial filed by 3rd Party Plaintiff Fabriko Acquisition
Corporation, Defendant Fabriko Acquisition Corporation). (Farmer,
Deborah) (Entered: 05/03/2007)

 

05/03/2007 045 Order dismissing Signed on 5/3/2007 (RE: related document(s)12
Answer to Third Party Complaint filed by 3rd Pty Defendant Philip A
Newman, 3rd Pty Defendant Advisco Capital Corporation). (Farmer,
Deborah) (Entered: 05/03/2007)

 

05/05/2007 046 BNC Certificate of Mailing - PDF Document. (RE: related document
(5)40 Order and Decision, ) No. ofNotices: 1. Service Date
05/05/'2007. (Admin.) (Entered: 05/06/2007)

 

05/05/2007 941 BNC Certificate of Mailing - PDF Document. (RE: related document
(s)41 Order) No. of Notices: l. Service Date 05/05/2007. (Admin.)
(Entered: 05/06/2007)

 

05/05/2007 048 BNC Certificate of Mailing - PDF Document. (RE: related document
(s)42 Order) No. of Notices: 1. Service Date 05/05/2007. (Admin.)
(Entered: 05/06/2007)

 

05/05/2007 049 BNC Certificate of Mailing - PDF Document. (RE: related document
(s)43_ Order) No. of Notices: 1. Service Date 05/05/2007. (Admin.)
(Entered: 05/06/2007)

 

05/05/2007 050 BNC Certificate of Mailing ~ PDF Document. (RE: related document
(3)44 Order) No. of Notices: 1. Service Date 05/05/2007. (Admin.)
(Entered: 05/06/2007)

 

05/05/2007 051 BNC Certificate of Mailing - PDF Document. (RE: related document
(s)_45 Order) No. of Notices: l. Service Date 05/05/2007. (Admin.)
(Entered: 05/06/2007)

 

 

 

 

 

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Western District of Virginia - LIVE - Docket Report Page 8 of 9

 

05/08/2007 05_2___ Amended Motion for Withdrawa1 of Reference Filed by Defendant
Fabriko Acquisition Corporation (Bowman, Gary) (Entered:
05/08/2007)

05/08/2007 05 3 Motion for Leave to Appeal Filed by Defendant Fabril<o Acquisition

Corporation Hearing scheduled 7/12/2007 at 09:30 AM at cr mtg,
Lynchburg, US Courthouse, Rm 266, 1 101 Court St., Lynchburg, VA
24504. (Attachments: # 1 Supplement Notice of Appeal) (Bowman,
Gary) (Entered: 05/08/2007)

 

05/08/2007 054 Notice OF APPEAL. Filed by Defendant Fabriko Acquisition

Corporation. Wrong document event was used by counsel when
entering pleading, counsel notified by emaii to re-docket using
correct entry; (Bowman, Gary) Modified on 511 1/2007 (Campbell,
Pam). (Entered: 05/08/2007)

 

05/15/2007 0;15 Order, (Notice, not order) of Deficiency Adversary Proceeding

(Costs for filing interlocutory Appeal for Motion for Leave not paid
in the amount of $5.00) Fee Due by 5/25/07; Signed on 5/15/2007.
(Campbell, Pam) Modified on 5/17/2007 (Campbell, Pam). (Entered:
05/15/2007)

 

05/17/2007 056 Notice of Deficiency for Appeal - APPELLEE WAS NOT LISTED;
Due by 5/29/07; (Campbeli, Pam) (Entered: 05/17/2007)

 

05/21/2007 057 Notice of Appeal to DistrictCourt . Fee Amount $255 Filed by
Defendant Fabriko Acquisition Corporation. Appellant Designation
due by 5/31/2007. (Bowman, Gary) (Entered: 05/21/2007)

 

05/22/2007 058 Motion to Extend TIME FOR PAYMENT OF APPEAL FEE Filed
by Defendant Fabriko Acquisition Corporation Hearing scheduled
7/12/2007 at 09:30 AM at Lynchburg, US Bankruptcy Courtroom
210, U.S. Courthouse, l 101 Court St., Lynchburg, VA 24504.
(Bowman, Gary) (Entered: 05/22/2007)

 

05/22/200”)r 0 Motions terminated (fee not paid) (RE: related document(s)_§___$
Motion for Withdrawal of Reference filed by 3rd Party Plaintiff
Fabriko Acquisition Corporation, Defendant Fabriko Acquisition
Corporation) (Campbell, Pam) (Entered: 05/22/2007)

 

05/31/2007 059 Order Scheduling Status Hearing and cancelling Trial scheduled for
June 7, 2007; Trial will be re-scheduled at the status hearing; Signed
on 5/31/2007 (RE: related document(s)19 Scheduling Order, ).
Hearing scheduled 7/12/2007 at 01 :30 PM at Lynchburg, US
Bankruptcy Courtroom 210, U.S. Courthouse, 1101 Court St.,
Lynchburg, VA 24504. (Campbell, Pam) (Entered: 05/31/2007)

 

 

 

 

 

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Western District of Virginia - LIVE - Docket Report Page 9 of 9

 

 

 

06/02/2007 960 BNC Certificate of Mailing - PDF Document. (RE: related document
(s)59 Order Schedule Hearing, ) No. of`Notices: 2. Service Date
06/02/2007. (Admin.) (Entered: 06/03/2007)

06/07/2007 061 Order that the Clerk shall remove the hearing on Motion for Leave to

 

Take Interlocutory Appeal from the calendar; and that the Clerk shall
immediately transmit the Notice of Appeal and the Motion for Leave
to Appeal to the C|erk of the U. S. Dist;rict Court for this District
along With copies of the orders complained of and of` any opinions or
memoranda relating thereto and any answers that may have been filed
Signed on 6/7/2007 (RE: related document(s)53 Motion for Leave to
Appeal, filed by 3rd Party Plaintiff Fabriko Acquisition Corporation,
Defendant Fabriko Acquisition Corporation). (Fallen, Janet) (Entered:
06/07/2007)

 

 

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